Case 2:24-cv-04702-MCS-PD Document 48-35 Filed 06/24/24 Page 1 of 3 Page ID #:419




                            Exhibit 27
                  Declaration of Eden Shemuelian
Case 2:24-cv-04702-MCS-PD Document 48-35 Filed 06/24/24 Page 2 of 3 Page ID #:420




  From: Associate Vice Chancellor for Campus Safety Rick Braziel <                                              >
  Date: Tue, Jun 11, 2024 at 4:31 PM
  Subject: Condemning Monday’s Violence on Campus
  To: <                                >
                                       UCLA Office of Campus Safety
  Dear Bruin Community:

  I write to share an update on demonstration activity on campus yesterday, which resulted in violence,
  destruction of property and the blocking of student access to parts of campus.

  This was completely unacceptable. The demonstration activity disregarded our values as a community,
  violated our campus policies and broke the law. These actions injured people, threatened the safety of
  our community and vandalized our campus. These actions also prevented students from completing
  their final exams.

  At around 3:15 p.m., activity started at the top of the steps leading to Royce Quad, where a group of
  people dyed the water in Shapiro Fountain red, used water-filled barriers and chicken wire to block the
  area, used amplified sound, and set up tents and canopies. When this group of individuals was told to
  disperse, they moved to Kerckhoff patio carrying wooden shields. At Kerckhoff patio, the group
  proceeded to vandalize property with permanent red paint and erected barriers that blocked students
  and the public from accessing that part of campus. At the same time, another group at Moore Hall
  disrupted final exams.

  When the group on Kerckhoff patio was told to disperse, they moved to an area near Dodd Hall. This
  resulted in some students having to miss finals because they were blocked from entering classrooms.
  Additionally, some students had to be evacuated in the middle of taking their final exams.

  Throughout the evening, there were also violent attacks on safety personnel and law enforcement,
  resulting in at least six injuries to UCPD personnel and other safety officers. One security guard was left
  with his head bleeding after he was struck with an object. Simply put, these acts of non-peaceful
  protest are abhorrent and cannot continue.

  During these events, 27 individuals were arrested. We are still determining which arrestees are not
  members of the UCLA community. Students who were arrested will be subject to disciplinary actions
  based on UCOP guidance, which could include a campus exclusion that will prevent them from being
  on campus to take finals or participate in commencement ceremonies.

  UCLA is firmly committed to protecting the free expression rights of everyone in our community,
  regardless of their views, as long as demonstrations are peaceful and follow guidelines for the
  appropriate time, place and manner for campus demonstrations. Yesterday’s protest was not peaceful.
  These guidelines support advocacy that does not jeopardize safety or disrupt university operations.

  Disruptions and protests are expected at various locations on campus through the end of our
  commencement ceremonies. Rights to free expression will be protected, but we will not tolerate
  violence. Protecting UCLA faculty, staff, students and visitors and creating an environment conducive to




                         SHEMUELIAN DECLARATION EXHIBIT 27
                                        86
Case 2:24-cv-04702-MCS-PD Document 48-35 Filed 06/24/24 Page 3 of 3 Page ID #:421



  teaching, learning, working and living continues to be our priority. The campus community belongs to all
  of us and we must model the respect we expect to receive from others.

  Sincerely,

  Rick Braziel

  Associate Vice Chancellor for Campus Safety



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                                       87
